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                                        EXHIBIT B


                                     Proposed Final Order


                                          (Attached)




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

    In re:                                                     Chapter 11

    CHICKEN SOUP FOR THE SOUL                                  Case No. 24-11442 (TMH)
    ENTERTAINMENT INC., et al.,1
                                                               (Joint Administration Requested)
                                Debtors.



         FINAL ORDER AUTHORIZING THE DEBTOR TO CONTINUE ORDINARY
         COURSE BUSINESS RELATIONSHIP UNDER MANAGEMENT SERVICES
          AGREEMENT AND LICENSE AGREEMENT WITH PARENT COMPANY

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors-in-possession

(collectively, the “Debtors”) for entry of interim and final orders (a) authorizing the Debtors to

continue honoring their existing course-of-dealing under the Management Agreement and the

License Agreement (each as defined below), including to pay the current amount due under those

Agreements based on that course of dealing; and (b) granting related relief; and upon consideration

of the Motion and all of the pleadings related thereto, including the First Day Declaration; and

having determined that this Court has jurisdiction to consider the Motion and the relief requested

therein in accordance with 28 U.S.C. §§ 157(a)–(b) and 1334(b), and the Amended Standing Order

of Reference from the United States District Court for the District of Delaware, dated February 29,

2012; and having determined that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and


1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number (where applicable), are: 757 Film Acquisition LLC (4300); Chicken Soup for the Soul
Entertainment Inc. (0811); Chicken Soup for the Soul Studios, LLC (9993); Chicken Soup for the Soul Television
Group, LLC; Crackle Plus, LLC (9379); CSS AVOD Inc. (4038); CSSESIG, LLC (7150); Digital Media Enterprises
LLC; Halcyon Studios, LLC (3312); Halcyon Television, LLC (9873); Landmark Studio Group LLC (3671);
Locomotive Global, Inc. (2094); Pivotshare, Inc. (2165); RB Second Merger Sub LLC (0754); Redbox Automated
Retail, LLC (0436); Redbox Entertainment, LLC (7085); Redbox Holdings, LLC (7338); Redbox Incentives LLC
(1123); Redwood Intermediate, LLC (2733); Screen Media Films, LLC; Screen Media Ventures, LLC (2466); and
TOFG LLC (0508). The Debtors’ corporate headquarters and service address is 132 East Putnam Avenue, Floor 2W,
Cos Cob, CT 06807.
2
             Capitalized terms used but not defined in this Order have the meanings given in the Motion.


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having determined that venue of these Chapter 11 Cases and the Motion is proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been

given under the circumstances, and it appearing that no other or further notice need be provided;

and upon the record of the hearing held on the Motion and all proceedings had before this Court;

and it appearing that the relief requested by the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having determined that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein; and after

due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

         1.       The Motion is granted on a final basis to the extent set forth herein.

         2.       The Debtors are authorized to continue to pay current Management Fee and

Licensing Fee obligations to the Service Providers consistent with their historical course of

dealing; provided, however, that such amounts paid to the Service Providers (i) do not include any

prepetition Management Fee and Licensing Fees that were accrued and unpaid as of the Petition

Date other than such amounts that would have been paid in the ordinary course of business but for

the commencement of these chapter 11 cases and (ii) do not exceed the amounts set forth in the

Initial DIP Budget Attached hereto as Exhibit A or any subsequent such budget that may be

approved in these cases.

         3.       Nothing in this Interim Order shall be deemed to authorize the payment of any

prepetition Management Fees or Licensing Fees in excess of those authorized in the preceding

paragraph; provided that nothing in this Interim Order shall prejudice the Debtors’ ability to seek

approval of such relief in accordance with the Bankruptcy Code at a later time.

         4.       Nothing contained in the Motion or this Final Order, nor any payment made

pursuant to the authority granted by this Final Order is intended to be or shall be construed as (i) an


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admission as to the validity of any claim against the Debtors, (ii) a waiver of any of the Debtors’

or any appropriate party in interest’s rights to dispute the amount of, basis for, or validity of any

claim against the Debtors, (iii) a waiver of any claims or causes of action which may exist against

any creditor or interest holder, or (iv) an approval, assumption, adoption, or rejection of any

agreement, contract, lease, program, or policy between any Debtor and any third party under

section 365 of the Bankruptcy Code.

         5.       Under the circumstances of these Chapter 11 Cases, notice of the Motion is

adequate under Bankruptcy Rule 6004(a) and the Local Rules.

         6.       Notwithstanding Bankruptcy Rule 6004(h), this Final Order shall be immediately

effective and enforceable upon its entry.

         7.       The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Final Order.




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